                                                                                          May 23, 2025
Hon. Margo K. Brodie, U.S.D.J.
United States District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn New York 11201

By Electronic Filing.

                Re:      Mercante v. Tarzia, 24-cv-08471

Dear Judge Brodie:

       My firm, with co-counsel, represents Plaintiff in the case above. Per the Court’s May 19,
2025 Minute Order, I write jointly with counsel for Defendant to propose a briefing schedule for
Defendant’s motion to dismiss.

        The parties have agreed on the following:

            •   6/2/2025: Defendant’s Motion to dismiss to be served on Plaintiff;
            •   6/30/2025: Plaintiff’s opposition to be served on Defendant; and
            •   7/13/2025: Defendant’s reply to be served on Plaintiff, and all papers filed by
                Defendant pursuant to the Court’s Bundling Rule.

        As always, the parties thank the Court for its time and consideration.

                                                       Respectfully submitted,
                                                            /s/
                                                       _________________
                                                       J. Remy Green
                                                            Honorific/Pronouns: Mx., they/their/them
                                                       COHEN&GREEN P.L.L.C.
                                                       Attorneys for Plaintiff
                                                       1639 Centre St., Suite 216
                                                       Ridgewood, New York 11385
cc:
All relevant parties by electronic filing.
